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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DEON HAMPTON,                    )                         PLAINTIFF
                                 )                         DEMANDS
       Plaintiff,                )                         TRIAL BY JURY
                                 )
v.                               )                         Case No. 15 C 290
                                 )
COOK COUNTY SHERIFF’S OFFICE,    )                         Honorable Judge:
SGT BROWN, OFFICER WALKER B.,    )                         GARY FEINERMAN
UNKNOWN CORRECTIONAL PERSONNEL, )
UNKNOWN CERMAK MEDICAL PERSONNEL )
and the COUNTY OF COOK ,         )
                                 )
       Defendants.               )


                            SECOND AMENDED COMPLAINT


       NOW COMES Plaintiff, DEON HAMPTON, by and through her attorneys, THE LAW

OFFICES OF SCOTT T. KAMIN, and complaining against Defendants, COOK COUNTY

SHERIFF’S OFFICE, SGT BROWN, OFFICER WALKER B., UNKNOWN CERMAK

MEDICAL PERSONNEL, UNKNOWN CORRECTIONAL PERSONNEL, and COUNTY OF

COOK, states as follows:


                                       JURISDICTION


This action arises under 42 U.S.C. § 1983, 28 U.S.C. § 1367, the Fourth, Fifth and Fourteenth

Amendments of the United States Constitution. The jurisdiction of this Court is invoked

pursuant to 28 U.S.C. §§ 1331, 1343(a)(3).


                                             VENUE




                                               1
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1. Venue is provided under 28 U.S.C. §§ 1391(b)(1) and (b)(2) in “a judicial district where

   any defendant resides, if all defendants reside in the same State” or in “a judicial district

   in which a substantial part of the events or omissions giving rise to the claim occurred....”

2. Upon belief, Defendants COOK COUNTY SHERIFF’S OFFICE, SGT BROWN,

   OFFICER WALKER B. and UNKNOWN CORRECTIONAL PERSONNEL reside in

   the State of Illinois and the Northern District of Illinois.

3. Defendant COUNTY OF COOK is located in the Northern District of Illinois.

4. The events giving rise to the claim involved in this cause occurred in the Northern

   District of Illinois.


                                             PARTIES


5. Plaintiff is a resident of Cook County, Illinois which is located in the Northern District of

   Illinois.

6. Upon belief, Defendants SGT BROWN and OFFICER WALKER B. were, at all times

   relevant to this action, employed by the County of Cook as Correctional Officers

7. Upon belief, Defendant UNKNOWN COOK COUNTY CORRECTIONAL OFFICERS

   were, at all times relevant to this action, employed by the County of Cook as Correctional

   Officers.

8. Upon belief, Defendant COOK COUNTY SHERIFF’S OFFICE was, at all times relevant

   to this action, part of the government of Cook County..

9. Defendant COUNTY OF COOK is a governmental subdivision located in the Northern

   District of Illinois, Eastern Division.

10. All individual defendants are sued in their individual capacities.



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                                                    FACTS


    COOK COUNTY SECURITY CLASSIFICATION


    11. On October 1, 2014, Plaintiff was an inmate at the Cook County Department of

        Corrections (“CCDOC” or “Jail”), housed in Protective Custody (“P.C.”).

    12. Plaintiff is a member of the lesbian, gay, bisexual, and transgender community,

        (“LGBT”), a protected class1.

    13. Protective Custody is a special segregation status of inmates deemed “at risk” from

        danger of other inmates because of their gender identification, LGBT status, at-risk social

        status, informant status or any other special status that makes them a target of inmates

        from general population (g.p.).

    14. Pursuant to rules promulgated by Defendant SHERIFF OF COOK COUNTY and COOK

        COUNTY, inmates housed in P.C. are not to be placed in contact with inmates housed in

        the general population because inmates in the general population are a known threat to

        the p.c. population.

    15. Placing P.C. inmates in contact with g.p. inmates defeats and undermines the purpose of

        P.C.


1
 Although Plaintiff is born a male and is classified by CCDOC as a male, Plaintiff identifies as a female
and is addressed as “she” throughout this complaint.



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16. Pursuant to rules promulgated by Defendant SHERIFF OF COOK COUNTY, CCDOC

   and COOK COUNTY, inmates housed in P.C.. wear distinctive dress in contrast to the

   dress of those housed in the g.p.

17. The SHERIFF OF COOK COUNTY, CCDOC, INDIVIDUAL DEFENDANTS and

   COOK COUNTY are responsible for transporting inmates scheduled for court in a secure

   fashion.


THE INCIDENT


18. On October 1, 2014, Plaintiff had a scheduled court date. It was the duty of the defendant

   deputies of Defendant Sheriff’s office, including defendants assigned to bus#4790, to

   safely transport Plaintiff from CCDOC to the Skokie Courthouse for court call.

19. General population inmates were already on bus#4790 awaiting other inmates, including

   Plaintiff, who were also being transported to court in Skokie.

20. As Plaintiff approached the transport bus, with her deputy-defendant escort, the g.p.

   inmates began yelling from inside the bus calling Plaintiff lewd names including,

   “faggot” and “bitch”.

21. As Plaintiff came closer to the awaiting bus some inmates announced to the deputies that

   “we gonna kill that bitch (referring to Plaintiff)” if Plaintiff was placed on the bus.

22. Plaintiff, noticing the dress of the g.p. inmates, and hearing the threats, informed the

   individual defendants that she was in fear of her life. Plaintiff told the individual

   defendants that she was scared to get on the bus.

23. Plaintiff pointed out to Defendant’s agents, the Sheriff’s deputies, that co-mingling the

   two groups of inmates was against the rules of the Sheriff and was just inviting trouble in

   this case.

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24. It was common knowledge among inmates, employees and administration of CCDOC

   that LGBT inmates were subject to physical abuse from g.p. inmates whenever the two

   groups were permitted to co-mingle.

25. Defendant Walker responded by telling Plaintiff to, “take your dick out your ass and

   grow some balls”. Based on the deputies’ commands and threats, the Plaintiff boarded the

   g.p. bus to Skokie.

26. The gay bashing, threats and insults continued on the trip to Skokie.

27. The individual defendants laughed and told Plaintiff to take it up with Tom Dart, then

   slammed the gate on the bus which locked Plaintiff inside with the g.p. inmates.

28. On the return trip from Skokie Plaintiff requested a routine escort sheriff van to return her

   to the jail as an escape from the g.p. inmates, again informing the individual defendants

   that she was afraid for her life because of the threats. The individual defendants

   announced in front of the g.p. inmates that they would beat Plaintiff’s “gay ass” worse

   than the inmates if she didn’t return on the same bus.

29. The g.p. inmates responded by chanting, “beat his gay ass”. Plaintiff was forced back on

   the bus with the g.p. inmates, many of whom who started spitting on Plaintiff.

30. Plaintiff asked for intervention from the Defendant deputies but none of them would

   intervene in the conflict.

31. Several of the g.p. inmates had saved juice tops from their lunch at Skokie. Some of the

   inmates began throwing their juice tops at Plaintiff.

32. A g.p. inmate at the back of the bus hit Plaintiff in his face with a juice top.

33. Plaintiff warned him if he did that again she would make him stop.




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34. The inmate hit Plaintiff with another juice top, and Plaintiff went to the back of the bus to

    confront him.

35. Neither of the available guards – sitting at the front of the bus – intervened.

36. The g.p. inmate – who was much larger than Plaintiff – put Plaintiff in a headlock while

    other g.p. inmates came over and joined the fight, taking pot shots at Plaintiff while she

    was in the headlock.

37. G.p. inmates punched and kicked Plaintiff in the head, face and in the body, and pulled

    her hair out.

38. None of the defendants moved from their positions a few feet from the incident.

39. After a while Plaintiff broke out of the headlock and engaged more of the g.p. inmates

    near the back of the bus.

40. Eventually, the individual defendants stopped the bus and watched the incident for

    several more minutes before finally getting involved. Defendant Brown announced that it

    was good they beat that “fag ass” and that he would cover it up.

41. Plaintiff begged for medical assistance. Plaintiff suffered various emotional and physical

    injuries including but not limited to a bruised face, permanently chipped teeth, her bottom

    lip was split open, her eyes were swollen, causing blurred vision, and Plaintiff’s hand was

    broken.

42. Plaintiff was eventually taken to the Cermak Health Unit inside CCDOC where the

    doctor refused to treat Plaintiff.

43. As it was never treated, the bone in Plaintiff’s hand is still jutting out.




                                            COUNT I


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        STATE CREATED DANGER – UNDER THE 4TH AMENDMENT and
                     SUBSTANTIVE DUE PROCESS

44. Plaintiff restates and realleges all the statements made in paragraphs 11-43 of this

   Complaint as though fully set forth herein.

45. Plaintiff was in the care, custody and control of the defendants during the incident

   complained of.

46. The defendants owed Plaintiff a duty of reasonable care while in their custody, including

   ensuring her safety in transport to and from the courthouse.

47. When the individual defendants slammed the gate on the bus which locked p.c. Plaintiff

   inside with the g.p. inmates, they constricted her access to self-help or escape from

   eminent harm.

48. The individual defendants were aware of the eminent danger faced by Plaintiff in their

   care and actually provoked the g.p. inmates to attack the p.c. Plaintiff.

49. Defendants were deliberately indifferent as to whether Plaintiff was harmed by such

   danger.

50. As a proximate result of the state created danger, Plaintiff was in fact injured, both

   physically and emotionally.


                              COUNT II
       FAILURE TO PROTECT-14th AMENDMENT UNDER 42 U.S.C. § 1983

51. Plaintiff restates and realleges all the statements made in paragraphs 11-43 and 45-50 of

   this Complaint as though fully set forth herein.

52. One or more of the defendants violated Plaintiff’s rights under the Fourteenth

   Amendment of the United States Constitution when, knowing that there was an unusual

   risk of harm to the Plaintiff from the g.p. inmates caused by Plaintiff’s LGBT and p.c.


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   status, after being fully warned and aware they were deliberately indifferent to the

   substantial risk to her safety.

53. As a direct and proximate result of the aforementioned unlawful and indifferent actions

   of individual Defendants, committed under the color of law and under their authority as

   deputies and medical personnel for the Cook County Department of Corrections, Plaintiff

   suffered harm including, but not limited to, extreme pain, injury, and mental anguish and

   was deprived of her right to be free from punishment and the due process of law as

   guaranteed by the 14th Amendment of the United States Constitution.


                                   COUNT III
                         EQUAL PROTECTION-42 U.S.C. § 1983


54. Plaintiff restates and re-alleges all the statements made in paragraphs 11-43, 45-50 and

   52-53 of this Complaint as though fully set forth herein.

55. The Plaintiff is a member of the LGBT community- a protected class.

56. Plaintiff is similarly situated to other non-LGBT inmates in protective custody.

57. Although the Defendants investigated, reported complaints, and protected its non-LGBT

   inmates in protective custody, the Defendants refused to investigate, report the

   complaints, or protect Plaintiff, who is a member of the LGBT community.

58. The Defendants acted with discriminatory intent causing Plaintiff harm.


                                COUNT IV
42 U.S.C. §1983 Monell CLAIM AGAINST COOK COUNTY, and THE SHERIFF OF
                              COOK COUNTY

59. Plaintiff restates and realleges all the statements made in paragraphs 11-43, 45-50, 52-53

   and 55-58 of this Complaint as though fully set forth herein.



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60. Defendants acted pursuant to one or more of the following interrelated informal policies,

   practices and/or customs of the Sheriff of Cook County and his CCDOC personnel:

               i. Acting with deliberate indifference toward the serious medical needs and

                   safety of LGBT p.c. inmates in their custody, and allowing and

                   encouraging other CCDOC personnel to act with similar indifference.

               ii. Allowing and encouraging the filing of false reports, and the giving of

                   false statements and testimony about incidents related to the abuse of

                   LGBT inmates.

              iii. Failing to properly train, supervise, discipline, transfer, monitor, counsel

                   and otherwise control CCDOC deputies and medical personnel in the

                   Sheriff’s employ particularly when for years, the Sheriff of Cook County

                   has known that his CCDOC personnel engaged in misconduct, acting with

                   deliberate indifference to the serious medical needs and safety of LGBT

                   inmates in their custody.

              iv. Failing to establish a system that allows protection of at-risk LGBT

                   inmates.

61. The practices and policies of the jail in providing inadequate safety, health assessments,

   inadequate medical care, failing to keep proper records, failure to provide adequate

   staffing and training, and the denial of meaningful protection caused the LGBT detainee

   to harm.




                            COUNT V
  INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS UNDER ILLINOIS
                              LAW

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   62. Plaintiff restates and realleges all the statements made in paragraphs 11-43, 45-50, 52-53,

       55-58 and 60-61 of this Complaint as though fully set forth herein.

   63. The individual defendants knew that the threat of danger against Plaintiff, a p.c. inmate,

       by g.p. inmates was clear, present, and visibly eminent.

   64. One or more of defendants intentionally engaged in extreme and outrageous behavior

       against Plaintiff, including, but not limited to, ignoring Plaintiff’s serious medical needs,

       and physical safety intending that Plaintiff would suffer injury.

   65. As a result of Defendants’ actions, Plaintiff suffered serious harm including, but not

       limited to, extreme pain and mental anguish.



                                   COUNT VI
          CLAIM UNDER 745 ILCS 10/9-102 AGAINST THE COUNTY OF COOK

   66. Plaintiff restates and realleges all the statements made in paragraphs 11-43, 45-50, 52-53,

       55-58, 60-61 and 63-65 of this Complaint as though fully set forth herein.

   67. Defendant THE COUNTY OF COOK was, at all times material to this Complaint, the

       employer of some of the individual defendants.

   68. The individual defendants committed the acts alleged above in the scope of their

       employment as employees of the COUNTY OF COOK.


              WHEREFORE, pursuant to 745 ILCS 10/9-102, Plaintiff demands judgment

against the employer Defendant named in this Count in the amount awarded to Plaintiff and

against the employee Defendants by way of judgment or settlement, including any and all

amounts awarded for damages and costs.




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             A.     That defendants be required to pay Plaintiff general damages in a sum to be
                    ascertained at a trial of this matter;

             B.     That defendants be required to pay Plaintiff special damages;

             C.     That defendant COOK COUNTY be required to reimburse the individual
                    defendants;

             D.     That defendants be required to pay Plaintiff’s attorneys’ fees pursuant to 42
                    U.S.C. §1988, the Equal Access to Justice Act, and/or any other applicable
                    provision;

             E.     That individual defendants be required to pay Plaintiff exemplary and
                    punitive damages in a sum to be ascertained at a trial of this matter;

             F.     That defendants be required to pay Plaintiff’s the costs of the suit herein
                    incurred, and

             G.     That Plaintiff be granted such other and further relief as this Court may
                    deem just and proper.




                                                                        Respectfully submitted,

                                                                            `/s/ Scott T. Kamin
                                                                           Attorney for Plaintiff

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